
MT Services P.T., P.C., as Assignee of Richardson Steven, Appellant, 
againstCountry-Wide Ins. Co., Respondent.




Petre and Zabokritsky, P.C., (Zachary Rozenberg, Esq.), for appellant.
Jaffe &amp; Koumourdas, LLP (Jean H. Kang, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Richard G. Latin, J.), entered December 3, 2014. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment and defendant cross-moved for summary judgment dismissing the complaint. By order entered December 3, 2014, the Civil Court denied plaintiff's motion and granted defendant's cross motion.
Contrary to plaintiff's contention, defendant established that it had timely mailed initial and follow-up requests for written verification (see 11 NYCRR 65-3.5 [b]; 65-3.8 [l]; St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]). As defendant demonstrated that it had not received the requested verification, and plaintiff did not show that the verification had been provided to defendant prior to the commencement of the action, the 30-day period within which defendant was required to pay or deny the claims did not begin to run (see 11 NYCRR 65-3.5 [c]; 65-3.8 [a]; Central Suffolk Hosp. v New York Cent. Mut. Fire Ins. Co., 24 AD3d 492 [2005]). As plaintiff's remaining contentions regarding the [*2]verification requested by defendant lack merit, the order is affirmed. 
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










